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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
────────────────────────────────────
BANCO SAN JUAN INTERNACIONAL, INC.,

                       Plaintiff,                 23-cv-6414 (JGK)

           - against -                            MEMORANDUM OPINION AND
                                                  ORDER
THE FEDERAL RESERVE BANK OF NEW
YORK, ET AL.,

                     Defendants.
 ────────────────────────────────────
JOHN G. KOELTL, District Judge:

     The plaintiff, Banco San Juan Internacional, Inc. (“BSJI”),

a Puerto Rico international banking entity, seeks a preliminary

injunction to require the Federal Reserve Bank of New York

(“FRBNY”) and the Board of Governors of the Federal Reserve

System (“Board”) to maintain the Master Account of BSJI with the

FRBNY pending a final judgment in this case.

     BSJI filed this action together with its motion for a

preliminary injunction pursuant to Federal Rule of Civil

Procedure 65 on July 24, 2023. ECF Nos. 1, 5. BSJI contends that

closing BSJI’s Master Account and terminating access to the

Federal Reserve System’s services would cause BSJI irreparable

harm. ECF No. 7. Because BSJI has failed to meet the

requirements for obtaining a preliminary injunction against the

FRBNY, the motion is denied. See Monserrate v. New York State

Senate, 599 F.3d 148, 154 (2d Cir. 2010). And because BSJI

cannot demonstrate that its claimed injury “will be redressed by
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a favorable disposition” with respect to the Board, BSJI’s

motion seeking relief from the Board is dismissed as moot. See

Lujan v. Defenders of Wildlife 504 U.S. 555, 560 (1992). 1 The

Court now makes the following findings of fact and reaches the

following conclusions of law pursuant to Federal Rules of Civil

Procedure 52(a)(2) and 65.

                                   I.

     The following facts, drawn from the complaint and the

parties’ affidavits on this motion, constitute the Court’s

findings of fact. See Park Irmat Drug Corp. v. Optumrx, Inc.,

152 F. Supp. 3d 127, 132 (S.D.N.Y. 2016) (“In deciding a motion

for preliminary injunction, a court may consider the entire

record including affidavits and other hearsay evidence.”).

                                    i.

     The Federal Reserve System was established in 1913 by the

Federal Reserve Act. 12 U.S.C. § 221 et seq (“FRA”). It consists

of the Board, the Federal Open Market Committee, and twelve

regional Federal reserve banks that serve financial institutions

in their respective districts. Id. § 222. Federal reserve banks,

including the FRBNY, are federal instrumentalities, incorporated

pursuant to the FRA. 12 U.S.C. § 221; United States ex rel.



1 Unless otherwise noted, this Memorandum Opinion & Order omits
all alterations, citations, footnotes, and internal quotation
marks in quoted text.

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Kraus v. Wells Fargo & Co., 943 F.3d 588, 592 (2d. Cir. 2019)

(“Kraus”). Congress authorized Federal reserve banks to carry

out certain banking functions, 12 U.S.C. §§ 341-361, including

the authority to accept or reject deposits from depository

institutions, id. § 342. Federal reserve banks maintain such

deposits in accounts called “Master Accounts” held in the name

of the financial institutions. As deposit accounts, Master

Accounts are governed by 12 U.S.C. § 342, which provides that

“[a]ny Federal reserve bank may receive from any of its member

banks, or other depository institutions . . . deposits of

current funds in lawful money[.]”

     Federal reserve banks issue Operating Circulars, which

govern the relationship between a reserve bank and a Master

Account holder. Brennan Decl., Ex. 3, ECF No. 52-3 (Operating

Circular No. 1). Pursuant to the terms of Operating Circular No.

1, account holders create a Master Account by executing a Master

Account Agreement(“MAA”). Id.; Brennan Decl., Ex. 2, ECF No. 52-

2 (MAA for BSJI). The MAA sets the terms under which a Master

Account can be operated, including the Federal reserve bank’s

right to terminate a Master Account “at any time.” Brennan

Decl., Ex. 3, ECF No. 52-3 at 11.

     In addition to the terms set forth in Operating Circular

No. 1, a subset of high-risk account holders, including BSJI,

agree to enhanced risk-mitigation provisions. Brennan Decl., Ex.

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4, ECF No. 52-4. BSJI agreed that “to limit the Risks the

customer poses to the [FRBNY], the [FRBNY] may suspend or

terminate the Customer’s access to one or more Financial

Services [or] close the Customer’s Master Account at any time by

giving written notice to the Customer.” Id. at 11. Risk, in this

context, is defined as the “the existence of, or the possibility

of, financial, legal, compliance, operational, reputational, or

other harm to the Bank . . . posed by the Customer.” Id. at 3.

                                    ii.

     In contrast to the powers vested in the Federal reserve

banks, the Board does not have the authority to provide services

relevant to banking. See, e.g., 12 U.S.C. §§ 342, 343, 347,

347c, 347d, 355(1). Instead, the Board provides general

oversight of the activities of the reserve banks, including

guidance with respect to Master Accounts. In providing this

guidance, the Board is not authorized to open or terminate a

Master Account and does not handle the administration of any

institution’s Master Account. See 12 U.S.C. §§ 248(j), 342.

Rather, the Board sets forth principles to guide “the level of

due diligence and scrutiny to be applied by reserve banks to

different types of institutions.” 87 Fed. Reg. 51109.

     In August 2022, the Board published Guidelines for

Evaluating Account and Service Requests (“Guidelines”),

enumerating six categories of risk. 87 Fed. Reg. 51099. The

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Board issued these Guidelines after public Notice and Comment,

based on its general supervision authority over the operations

of the Federal reserve banks. 12 U.S.C. § 248(j). According to

these Guidelines, institutions not federally insured and that

operate outside the scope of the federal banking agencies’

supervisory framework -- such as BSJI -- are subject to the

strictest level of review. 87 Fed. Reg 51110.

                                      iii.

      Puerto Rican law provides for the establishment of

International Banking Entities (“IBEs”), Act No. 52 of 1989, and

International Financial Entities (“IFEs”), Act No. 273. BSJI is

an IBE that does not accept deposits from any person in the

United States. Brennan Decl., Ex. 4, ECF No. 52-4 (BSJI

Certificate of Registry). BSJI is owned by Marcelino Bellosta-

Varady, id., Ex. 14, ECF No. 52-15 at 17, and its customer base

is almost exclusively comprised of his close family members and

offshore entities they control, Benvenuto Decl., ¶ 10, ECF No.

51. In May 2023, BSJI had 14 account holders that maintained a

total of 15 deposit accounts. Laursen Decl., ¶ 33, ECF No. 10-

21.

      BSJI opened a Master Account with the FRBNY in April 2012.

Brennan Decl., Ex. 14, ECF No. 52-14 at 2-3. Because BSJI is not

federally insured, nor subject to prudential federal

supervision, BSJI is subject to the strictest level of review

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under the Board’s Guidelines in addition to its obligation to

adhere to the FRBNY’s Account and Financial Services Handbook

(the “Handbook”). Id. at 3. For continued account access, BSJI

must demonstrate that it has implemented an effective compliance

program through “the submission of independent consultants’

assessment reports of BSJI’s compliance program” that meet the

Handbook’s requirements. Id. To satisfy these requirements, BSJI

retained an independent consultant, K2 Integrity (“K2”), to

complete the assessment reports. Id. at 7.

                                    iv.

     On February 6, 2019, the Federal Bureau of Investigation

(“FBI”) investigated BSJI’s transactions and its compliance.

Benvenuto Decl., ¶ 6, ECF No. 51. The United States District

Court for the District of Puerto Rico issued a seizure warrant

that instructed the FRBNY to transfer a substantial portion of

the funds in BSJI’s account to the United States Marshals, id.,

and the FRBNY suspended BSJI’s account, id.

     On February 11, 2020, the United States Attorney’s Office

for the District of Puerto Rico announced that BSJI had agreed

to pay a fine and improve its anti-money-laundering policies. On

March 16, 2020, BSJI and the FRBNY executed the “Supplemental

Terms,” requiring enhanced risk-mitigation measures and

reconfirming the FRBNY’s right to close BSJI’s account. Brennan

Decl., Ex. 4, ECF No. 52-4 at 11. BSJI agreed as follows:

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     In addition to the Bank’s rights under OC 1 and other
     operating circulars, to limit the Risks the Customer poses
     to the Bank, the Bank may suspend or terminate the
     Customer’s access to one or more Financial Services, close
     the Customer’s Mater Account, impose conditions that must
     be satisfied before the Bank will process certain or all
     types of Financial Services transactions, or restrict or
     otherwise adopt risk-management measures with respect to
     Financial Services or the Customer’s Master Account at any
     time by giving written notice to the Customer.

     Id. at 11. Pursuant to the settlement agreement, the FRBNY

restored BSJI’s account access in December 2020. Benvenuto

Decl., ¶ 7, ECF No. 51.

     Then, in July 2022, the FRBNY notified BSJI that BSJI had

breached the Supplemental Terms by failing to submit on time

three mandated assessments attesting to the effectiveness of its

compliance programs. Brennan Decl., Ex. 15, ECF No. 52-15 at 2.

The FRBNY explained: “Consistent with the New York Fed’s

practices of assessing, managing, and mitigating risk under the

Handbook . . . we have concluded BSJI poses undue risk to the

New York Fed due to, among other things, this noncompliance.”

Id. For this reason, the FRBNY informed BSJI that it would be

closing BSJI’s account in September 2022. Id.

     In response, BSJI submitted its required reports, id. Ex.

17, ECF No. 52-17 at 2, and the FRBNY suspended closure, id. at

2-3. In the months that followed, the FRBNY sent BSJI requests

for information, BSJI provided its responses, and anti-money-

laundering specialists, including the FRBNY’s Compliance


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Function (“Compliance”), evaluated the risks posed by BSJI’s

continued account access. Id. Ex. 14, ECF No. 52-14 at 12-17.

     In 2023, the FRBNY’s “first-line of defense” -- the Reserve

Bank Accounts and Services Function (“RBAS”) -- requested that

Compliance provide its views on the compliance risks posed by

BSJI. On March 31, 2023, Compliance provided a thorough report

of these risks, including a review of BSJI’s compliance reports

and the observations by K2, BSJI’s consultant. See id. In that

report, Compliance noted that BSJI did not file any Suspicious

Activity Reports (“SARs”) on any transaction activity reviewed

by K2, id. at 7, which was particularly concerning given the

“large inflows from shell companies in high-risk jurisdictions,

owned by related parties of BSJI’s owners,” id. at 13,

inconsistent documentation regarding large payments to various

individuals, id. at 15, 16-17, missing account information, id.,

and BSJI’s failure to provide an explanation for suspicious wire

transfers, id. at 16.

     Compliance ultimately determined that BSJI posed undue risk

under Principle 5 of the Board’s Guidelines and that this risk

could not be effectively mitigated with additional controls. Id.

at 17-18. 2 After reviewing transactions among BSJI’s owner’s


2 Principle 5 of the Guidelines states that the “provision of an
account and services to an institution should not create undue
risk to the overall economy by facilitating activities such as
money laundering, terrorism financing, fraud, cybercrimes,
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family members, id. at 13-18, BSJI’s responses, id. at 12, and

inconsistencies in reporting transactions, id. at 13, Compliance

concluded as follows:

     Given the programmatic weaknesses in BSJI’s compliance
     program, as evidenced by the serious and persistent issues
     identified in K2’s reports, the significant number of red
     flags identified in BSJI’s transaction activity, and the
     high concentration of suspicious transactions with parties
     related to BSJI, Compliance does not believe that
     additional controls would be an effective way of managing
     the undue risk posed by BSJI.

Id. at 17-18.

     On April 1, 2023, RBAS agreed with Compliance’s views that

BSJI “does not meet principle 5 of the Guidelines and has

determined that, because BSJI poses undue risk under principle

5, BSJI poses undue risk to the New York Fed.” Id., Ex. 19, ECF

No. 52-19 at 4. After considering numerous controls to “manage

the undue risk posed by BSJI,” id., RBAS concluded that “the

risk controls that BSJI had supposedly implemented in recent

years have not been effective in addressing the deficiencies in

BSJI’s compliance program or reducing the high-risk nature of

BSJI’s transaction activity.” Id. at 4-5. RBAS reached this

conclusion after enumerating several limitations of the

potential controls, and explaining why these controls would not




economic or trade sanctions violations, or other illicit
activity.” 87 Fed. Reg. 51109.
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mitigate the full scope of programmatic weaknesses. Id. at 4

n.6.

       Thereafter, RBAS consulted with the Board regarding its

closure decision. Id. at 5. On April 12, 2023, having reviewed

the FRBNY’s pre-decisional analyses of BSJI’s existing access,

the Board advised the FRBNY: “We have no concerns with the

Reserve Bank’s application of the Guidelines to BSJI’s [access]

and with it moving forward with its intended action to terminate

BSJI’s access based on this analysis.” Id., Ex. 20, ECF No. 52-

20, at 2. By letter dated April 24, 2023, the FRBNY informed

BSJI that its account and access to financial service would be

terminated on June 20, 2023. Id., Ex. 21, ECF No. 52-21. The

letter explained that the FRBNY was “exercising its contractual

rights to close [BSJI’s] master account and terminate its access

to the New York Fed financial services . . . upon notice to BSJI

under both the Supplemental Terms . . . as well as the

applicable operating circulars.” Id. at 2. The letter included

three pages of compliance deficiencies that led the FRBNY to

conclude that “continuing to provide a master account and

financial services to BSJI poses undue risk to the overall

economy by facility activities such as money laundering,

economic or trade sanctions violations, or other illicit

activities.” Id. at 5.



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       On June 30, 2023, the FRBNY informed BSJI that the FRBNY

was moving forward with closing BSJI’s Master Account on July

31, 2023. Id., Ex. 9, ECF No. 52-9. The FRBNY explained that it

had reviewed a June 27, 2023 letter from BSJI as well as prior

communications, including a June 20, 2023 telephone call, but

was unpersuaded. The FRBNY explained that in the telephone call

it:

       . . . provided a detailed explanation of our significant
       [Anti-Money Laundering] concerns related to BSJI’s
       transaction activity. We noted our observations that much
       of BSJI’s transaction activity consists of the rapid
       movement of funds on behalf of high-risk entities located
       in high-risk jurisdictions that are controlled by close
       relatives of BSJI’s owner. . . . These transactions often
       lack a clear business purpose and in some instances are
       suggestive of layering.

Id. at 2-3. The FRBNY told BSJI it would consider extending the

closure date if BSJI needed time to wind down its account use,

id. at 3, which would provide BSJI with an opportunity to seek a

correspondent commercial banking relationship to continue

operations. Rather than pursue this opportunity, on July 25,

2023, BSJI moved for a temporary restraining order and a

preliminary injunction. ECF Nos. 1, 6. On July 26, 2023, this

Court held a conference on BSJI’s motions, providing the parties

with an opportunity to reach an agreement that would obviate the

need for the Court to rule on BSJI’s motion for a temporary

restraining order prior to its decision on BSJI’s motion for a



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preliminary injunction. ECF No. 24. 3 On July 28, 2023, the FBRNY

agreed to keep BSJI’s Master Account open through this Court’s

resolution of BSJI’s motion for a preliminary injunction, and

BSJI agreed to retain a transaction monitor subject to the

FRBNY’s approval. ECF No. 25.

                                   II.

     The Court reaches the following conclusions of law. To

succeed on its motion for a preliminary injunction enjoining the

FRBNY and the Board from terminating its Master Account access,

BSJI must show: “(1) irreparable harm; (2) either a likelihood

of success on the merits or both serious questions on the merits

and a balance of hardships decidedly favoring the moving party;

and (3) that a preliminary injunction is in the public

interest.” N. Am. Soccer League, LLC v. U.S. Soccer Fed’n, Inc.,

883 F.3d 32, 37 (2d Cir. 2018); Plaza Health Laboratories, Inc.

v. Perales, 878 F.2d 577, 580 (2d Cir. 1989).

     Moreover, "where the moving party seeks to stay

governmental action taken in the public interest pursuant to a

statutory or regulatory scheme, the district court should not

apply the less rigorous fair-ground-for-litigation standard and




3 At that hearing on July 26, 2023, BSJI represented that BSJI
had 14 accounts and 13 customers. See ECF No. 27 at 23. At the
hearing for the preliminary injunction on October 16, 2023,
counsel for BSJI represented that one customer may withdraw from
BSJI, leaving 12 customers remaining. See Hearing Tr., at 7, 11.
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should grant the preliminary injunction only if the moving party

establishes, along with irreparable injury, a likelihood that he

will succeed on the merits of his claim.” Plaza Health

Laboratories, 878 F.2d at 580.

     BSJI’s motion seeks to enjoin government action taken for

the public interest: the Board is an independent agency of the

United States government, see 12 U.S.C. § 241, and the FRBNY is

a federal instrumentality. See Kraus, 943 F.3d at 592; 12 U.S.C.

§ 391. The FRBNY determined to close BSJI’s Master Account to

mitigate risk to the “overall economy.” See Brennan Decl., Ex.

21, ECF No. 52-21, at 2, 5. Accordingly, this Court may grant

the preliminary injunction, only if BSJI establishes, along with

irreparable injury, a likelihood of success on the merits of its

claim. See Plaza Health Laboratories, Inc., 878 F.2d at 580; see

also Molloy v. Metropolitan Transp. Authority, 94 F.3d 808, 811

(2d Cir. 1996) (finding that “a likelihood of success on the

merits” standard applied when the plaintiffs sought a

preliminary injunction enjoining the Metropolitan Transit

Authority from implementing a staff reduction plan). In any

event, as explained below, the plaintiff has also failed to show

a serious question on the merits.




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                                   A.

     Irreparable harm is “the single most important prerequisite

for the issuance of a preliminary injunction.” Faiveley Transp.

Malmo AB v. Wabtec Corp., 559 F.3d 110, 118 (2d Cir. 2009). A

movant must show that, absent a preliminary injunction, the

movant “will suffer an injury that is neither remote nor

speculative, but actual and imminent and one that cannot be

remedied if a court waits until the end of trial to resolve the

harm.” Freedom Holdings, Inc. v. Spitzer, 408 F.3d 112, 114 (2d

Cir. 2005). BSJI contends that such relief is necessary, but its

arguments are based on unsubstantiated claims.

     BSJI alleges that it will lose its customers without the

existence of a Master Account, see ECF No. 7 at 17, but BSJI’s

predictions about whether BSJI would continue to exist is based

on speculation. See Impax Media Inc. v. Ne. Advert. Corp., No.

17-cv-8272, 2018 WL 358284, at *5 (S.D.N.Y. Jan. 10, 2018)

(“instead of presenting concrete data . . . plaintiff offers

only the self-serving statement . . . that its business will

collapse without an injunction”); DTC Energy Grp., Inc. v.

Hirschfeld, 912 F.3d 1263, 1271 (10th Cir. 2018) (“[N]ot all

plaintiffs who have already suffered lost customers . . . can

show a sufficient probability of future irreparable harm to

warrant a preliminary injunction.”); Kwan Software Eng’g, Inc.

v. Foray Techs., LLC, 551 F. App’x 298, 299 (9th Cir. 2013)

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(declaration by a company president that customers might be lost

was “only speculative evidence”).

     BSJI relies on the 22-month period in which the FRBNY

suspended BSJI’s access to its Master Account as proof of this

irreparable harm, see ECF No. 7, at 6-7, alleging that its loss

of Master Account access caused “enormous reputational and

financial harm,” and that BSJI now retains “two percent of the

depositors it had prior to the suspension of its access to these

services.” Id. at 16. But a substantial reason for BSJI’s

reduction in its customers’ accounts was strategic. Indeed, BSJI

determined to reduce its retail client base to address its high-

risk profile. See Vazquez Decl., ECF No. 10, ¶¶ 33, 35 (noting

that BSJI had “thoroughly downsized and de-risked” to avoid

account closure); id., ECF No. 10-5, at 4 (“We have not sought

to grow [BSJI] since 2019 and indeed have shrunk our retail

client base”). In any event, BSJI’s current small customer base

consists of 14 account holders comprised almost exclusively of

close family members of the owner and the offshore entities they

control. 4 That this account base is so closely allied with the

bank’s owner and has been prepared to remain with the bank




4 At the October 16, 2023 hearing on BSJI’s motion for a
preliminary injunction, counsel for BSJI represented that BSJI
currently had 14 accounts and 13 customers. BSJI asserted one
customer may be leaving BSJI. Hearing Tr. at 7, 8, 11. See
supra, n. 4.
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despite its prior lengthy existence without access to a Master

Account undercuts the speculative argument that BSJI would cease

to exist without access to a Master Account. While the owner now

says BSJI will lose its current customers, that allegation is

self-serving speculation. See ECF No. 73, at 9.

                                    B.

     As to the merits, BSJI asserts that there is a statutory

right to have a Master Account, ECF No. 7, Br. at 18-22, and

that the FRBNY’s actions violate the Administrative Procedure

Act (“APA”), id. at 22-26, the Due Process Clause, id. at 26-27,

and the FRBNY’s contractual obligations, see id. at 27-28. For

the reasons discussed below, these claims are not likely to

succeed on the merits, and none present serious questions. See

N. Am. Soccer League, LLC, 883 F.3d at 37. 5

                                     i.

     BSJI’s statutory claim fails because 12 U.S.C. § 342 makes

clear that Federal reserve banks are authorized to maintain




5 BSJI also seeks relief under the Mandamus Act and a declaratory
judgment asserting BSJI’s right to a Master Account. ECF No. 1.
However, BSJI did not raise either claim in its Opening Brief,
see ECF No. 7, and only addresses grounds for Mandamus relief in
its Reply, see ECF No. 73 at 17. BSJI has thus abandoned these
bases for the claimed preliminary injunction. United States ex
rel. Karlin v. Noble Jewelry Holdings Ltd., No. 08-cv-7826, 2012
WL 1228199, at *4 (S.D.N.Y. Apr. 9, 2012)(“Arguments may not be
made for the first time in a reply brief.”). In any event,
neither claim would succeed on the merits because BSJI has no
clear right to a Master Account under 12 U.S.C. § 248a(c).
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Master Accounts, but are not required to do so. Moreover, the

FRBNY executed a Master Account Agreement and Supplemental Terms

agreement with BSJI, see ECF Nos. 52-2, 52-4, both of which give

the FRBNY the contractual right to close BSJI’s Master Account.

     Master Accounts are governed by Section 13 of the FRA. 12

U.S.C. § 342. Section 342 appears in subchapter IX, entitled

“Powers and Duties of Federal Reserve Banks,” and provides

Federal reserve banks with the authority to receive deposits

from nonmembers as well as members of the Federal reserve

system. See id. §§ 341-61. Section 342 does not require the

Federal reserve banks to grant to any bank a Master Account. The

statute provides that Federal reserve banks “may” open accounts,

not that they shall. Id. The Supreme Court has held that “may”

in Section 342 merely “confers authority” to act, and does not

mean “shall.” Farmers’ & Merchs.’ Bank of Monroe v. Fed. Rsrv.

Bank of Richmond, 262 U.S. 649, 662 (1923) (Brandeis, J.)

(construing the right to receive checks for collection). 6

Moreover, Congress recently amended the FRA to add a new

provision concerning master accounts. On December 23, 2022, the

President signed into law the National Defense Authorization Act


6
 Congress amended Section 342 in 1980 to allow Federal reserve
banks to accept deposits from non-member depository institutions
as well as any member bank, see Monetary Control Act of 1980, 12
U.S.C. § 342, Pub. L. 96-221, but did not change the “may
receive” language, which existed since 1913 and was interpreted
in Farmers’ and Merchants’ Bank of Monroe. See 262 U.S. at 662.
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(“NDAA”). Section 5708 of Title LVII of the NDAA amends the FRA

by inserting § 11C, entitled “Master Account and Services

Database.” This amendment confirms that Federal reserve banks

may “reject” applications from depository institutions, by

requiring the Board to “create and maintain a public, online,

and searchable database” that includes “a list of every entity

that submits an access request for a reserve bank master account

and services . . . including whether . . . a request was

approved, rejected, pending, or withdrawn[.]” 12 U.S.C. §

248c(b)(1), Pub. Law No. 117-263 tit. LVII, § 5708 (2022)

(emphasis added).

     BSJI argues that another subsection, Section 248a(c)(2),

should be construed to require Federal reserve banks to afford

Master Accounts to every depository institution that requests

such an account. See ECF No. 6, at 18-19 (citing 12 U.S.C. §

248a(c)(2)). But Section 248a(c)(2) is directed to the Board,

not Federal reserve banks, and is best read as a clause

preventing price discrimination in favor of banks that are

members of the Federal Reserve System. 7 The section entitled

“Pricing of services” instructs the Board to “put into effect a

schedule of fees” for certain services based on certain




7 Section 248a appears in subchapter II of the FRA, 12 U.S.C. §§
241-52, titled “Board of Governors of the Federal Reserve
System.”
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principles. 12 U.S.C. § 248a(a). Among these principles, the

Board is instructed that: “All Federal reserve bank services

covered by the fee schedule shall be available to nonmember

depository institutions and such services shall be priced at the

same fee schedule applicable to member banks . . . .“ 12 U.S.C.

§ 248a(c)(2). Section 248a(b) enumerates the “covered services,”

and makes no reference to Master Accounts, much less commands

the Board to direct the opening of a master account for every

institution that seeks one regardless of risk. 8 And the section

does not even state that the services covered by the fee

schedule shall be available to “all nonmember depository

institutions.”




8 BSJI cites the Second Circuit Court of Appeals’s decision in
Greater Buffalo Press, Inc. v. Fed. Rsrv. Bank of N.Y. to
support its contention that Section 248a(c)(2) requires Federal
reserve banks to open Master Accounts for every depository
institution. See ECF No. 7 at 21. But that opinion addresses the
check clearing services enumerated in Section 248a(b), rather
than Master Accounts, which are not included. See 866 F.2d 38,
39-40 (2d Cir. 1989). Recounting the process of check collection
in the Federal Reserve System, the Court of Appeals emphasized
that Congress’s amendments to 12 U.S.C. § 248a made the services
enumerated in that section “available to all banks, regardless
of whether or not they were member banks.” Id. at 40. In so
ruling, the Court of Appeals did not find that Federal reserve
banks must open Master Accounts for every bank, but instead
found that the Federal Reserve must make its check clearing
services available without regard to a bank’s member status.
Id.; see also Jet Courier Servs., Inc. v. Fed. Rsrv. Bank of
Atlanta, 713 F.2d 1221, 1227 (6th Cir. 1983) (explaining that
the law establishing Section 248a provided that nonmember banks
could receive check clearing and collection services “at the
same fees charged member banks”).
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     BSJI relies on a concurring opinion from Judge Bacharach of

the Court of Appeals for the Tenth Circuit, which opined that

there is a requirement to open a Master Account for all

depository institutions. See Fourth Corner Credit Union v. Fed.

Rsrv. Bank of Kan. City, 861 F.3d 1052 (10th Cir. 2017). 9 The

issue in Fourth Corner was whether the District Court erred in

dismissing the complaint of Fourth Corner Credit Union, which

had sought to require the Federal Reserve Bank of Kansas City to

open a Master Account for that credit union despite the fact

that the credit union sought to provide banking services for

marijuana-related businesses. Chief Judge Moritz would have

affirmed the dismissal with prejudice. Judge Matheson would have

vacated the dismissal and remanded with instructions to dismiss

the amended complaint without prejudice on prudential-ripeness

grounds. Only Judge Bacharach would have decided the appeal on

the merits and then reversed the dismissal of the amended




9 BSJI also relies on Custodia Bank, Inc. v. Fed. Rsrv. Board of
Governors, 640 F. Supp. 3d 1169 (D. Wy. 2022). The Custodia
Court denied a motion to dismiss an action brought by a
depository institution that claimed that the Federal Reserve
Bank of Kansas City delayed unreasonably in deciding whether to
grant its application for a Master Account. In the course of
deciding that motion, the Court found that Judge Bacharach’s
concurring opinion “may plausibly be the law on this matter,”
but that a “full statutory interpretation of the matter is
better left for another day” after “further development of [the]
facts.” Id. at 1185. But the standard on this motion for a
preliminary injunction is different. BSJI must show that it is
likely to succeed on the merits.
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complaint, finding that the Fourth Corner Credit Union had a

statutory right to a Master Account pursuant to 12 U.S.C. §

248a(c)(2). The panel ultimately vacated the district court’s

order and remanded with instructions to dismiss the amended

complaint by Fourth Corner Credit Union without prejudice. 861

F.3d at 1053 (per curiam).

     Judge Bacharach’s opinion is neither controlling (even in

the Tenth Circuit), nor persuasive. Judge Bacharach relied on 12

U.S.C. § 248a(c)(2) and found it irrelevant that the section did

not say explicitly that “all” Federal reserve bank services

covered by the fee schedule shall be available to “all”

nonmember depository institutions. But the purpose of the

statutory section is to prevent price discrimination when a

service is offered to a nonmember institution, not to require

the Federal reserve banks to provide specific services to

nonmember banks. See Jet Courier Servs., Inc., 713 F.2d at 1227.

If Congress intended to require Federal reserve banks to provide

specific services, the direction would reasonably have been

found in the section dealing with the duties and powers of

Federal reserve banks and not in the section dealing with fee

schedules set by the Board. And Judge Bacharach in his 2017

opinion did not have the advantage of Congress’s December 23,

2022 statute, that explicitly acknowledged that the Board was



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required to maintain a database of Master Accounts rejected by

Federal reserve banks. 12 U.S.C. § 248c(b)(1)(B).

     Moreover, whatever rights BSJI may have had to open a

Master Account is not at issue because BSJI had a Master Account

and specifically agreed that the FRBNY had the right to

terminate that account. See Brennan Decl., Ex. 2, ECF No. 52-2;

id., Ex. 3, ECF No. 52-3, at 7. There is no statute that

provides that a Federal reserve bank lacks the power to

terminate a Master Account. Rather, there is an agreement

governing the Master Account that allowed the FRBNY to close the

account, see Brennan Decl., Ex. 2, ECF No. 52-2 (Master Account

Agreement); id. at Ex. 3, ECF No. 52-3 (Operating Circular No.

1), and this was reaffirmed in a Supplemental Agreement that

BSJI entered into with the FRBNY in 2020 after the FRBNY had

closed the Master Account in 2019, id. at Ex. 4, ECF No. 52-4

(Supplemental Terms and Agreement). BSJI waived any “right” when

it entered into its contracts with the FRBNY that authorized the

FRBNY to terminate the Master Account. See Columbus Park Corp.

v. Dep’t of Hous. Pres. & Dev., 598 N.E. 2d 702, 706 (N.Y.

1992); see also F.D.I.C. v. Four Star Holding Co., No. 97-cv-

4184, 2000 WL 256146, at *3 (S.D.N.Y. Mar. 7, 2000) (“As a

general rule, a contractual waiver of a statutory right need not

be express so long as it is clearly intentional.”), vacated on

other grounds, 271 F.3d 75 (2d Cir. 2001) (per curiam). And the

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FRBNY specifically relied on its contractual rights when it

terminated BSJI’s Master Account in 2023.

                                       ii.

      BSJI contends that the FRBNY is an agency of the United

States government and therefore subject to judicial review under

the APA, which defines “agency” as an “authority of the

Government of the United States.” 5 U.S.C. § 701(b)(1). While

the Second Circuit Court of Appeals has not yet ruled on this

narrow question, Kraus, 943 F.3d at 592, “Congress has gone out

of its way to formally separate the [Federal reserve banks] from

the government. The [Federal reserve banks] are not part of any

executive department or agency.” Id. at 597. “Congress has

considered the status of the [Federal reserve banks] on multiple

occasions and decided not to convert them formally into

government agencies.”         Id. at 598 (emphasis added). 10

      Although Courts of Appeals in other circuits have referred

to Federal reserve banks as “instrumentalities” of the federal

government in other contexts, 11 Federal reserve banks are not


10 “This separation from general government dates to the founding
of the Fed in 1913 when Congress, following other major advanced
economies decided to leave governance of money and credit, at
least in part, in private hands. . . . [T]he legislative history
of the FRA suggests that Congress intended the [Federal reserve
banks] to serve the interests of, but stand apart from, the
sovereign.” Kraus, 943 F.3d at 597.
11 The parties agreed at the argument on the current motion that

no United States Court of Appeals has determined whether Federal
reserve banks should be treated as “agencies,” under the APA.
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part of any executive department or agency. Nor do they have the

authority to promulgate regulations with the force and effect of

law. Instead, they are “corporations that operate under the

supervision and control of a board of directors, which shall

perform the duties usually appertaining to the office of

directors of banking associations.” Id. at 597.

     BSJI cites two out-of-circuit decisions, see ECF No. 7, at

23, but neither applies to the circumstances here. In Lee

Construction Co., Inc. v. Federal Reserve Bank of Richmond, 558

F. Supp. 165 (D. Md. 1982), the District Court determined that

the Federal Reserve Bank of Richmond functioned as an agency,

because the Board delegated substantial decision-making

authority to the Bank. Id. at 177-78. But, unlike in Lee, the

Board does not determine whether the FRBNY may open or terminate

a Master Account. Instead, the statute authorizes the FRBNY to

use its discretion to make this decision. See 12 U.S.C. § 342.

The Lee Court also ultimately concluded that the plaintiff



Rather, Federal reserve banks have been treated as
“instrumentalities” of the United States, Scott v. Fed. Rsrv.
Bank of Kan. City, 406 F.3d 532, 536 (8th Cir. 2005), and exempt
from certain state and local taxes. Fed. Rsrv. Bank of St. Louis
v. Metrocentre Improvement Dist. No. 1, 657 F.2d 183, 186-87
(8th Cir. 1981)(finding Federal reserve banks to be immune from
state and local taxation). However, the Ninth Circuit Court of
Appeals held that Federal “Reserve Banks are not federal
instrumentalities for purposes of the [Federal Tort Claims Act,
28 U.S.C. §§ 1346 & 2671 to 2680], but are independent,
privately owned and locally controlled corporations.” Lewis v.
United States, 680 F.2d 1239, 1241 (9th Cir. 1982).
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lacked standing to sue the Federal reserve bank in that case

because the plaintiff had failed to allege a prima facie case

that the bank’s action was an arbitrary or capricious abuse of

discretion or otherwise illegal. Id. at 188.

     BSJI also relies on Flight International Group, Inc. v.

Federal Reserve Bank of Chicago, 583 F. Supp. 674 (N.D. Ga.

1984), vacated, 597 F. Supp. 462, 678-79 (N.D. Ga. 1984), to

support its argument that the FRBNY is an agency subject to the

APA. But the since-vacated decision treated the Federal Reserve

Bank of Chicago as an agency because other courts found that

Federal reserve banks operated as instrumentalities of the

government. Flight Int’l Grp., Inc., 583 F. Supp. 674 at 678

(collecting cases). By contrast, the Second Circuit Court of

Appeals has emphasized that Federal reserve banks “are not part

of any executive department or agency . . . [n]or do they have

the authority to promulgate regulations with the force and

effect of law.” Kraus, 943 F.3d at 597. Indeed, “many financial

institutions are . . . considered federal instrumentalities,

without attaining the status of government agencies within the

meaning of federal procedural rules.” In re Hoag Ranches, 846

F.2d 1225, 1227 (9th Cir. 1988).

     In any event, treating the FRBNY as an agency does not

subject the FRBNY’s decision in this case to judicial review.

The APA precludes review of “agency action” that is “committed

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to agency discretion by law.” 5 U.S.C. § 701(a)(2). This is

because, “where a decision is committed to agency discretion,

review is not to be had if the statute is drawn so that a court

would have no meaningful standard against which to judge the

agency’s exercise of discretion.” Zheng v. Reno, 166 F. Supp. 2d

875, 879 (S.D.N.Y. 2001). The FRA provides the FRBNY with

discretion to open or terminate Master Accounts. See 12 U.S.C. §

342. The statute therefore forecloses judicial review under the

APA.

       Moreover, judicial review under the APA would be “highly

deferential and presume[] the agency’s action to be valid.”

Adler v. United States Dep’t of Justice, No. 18-cv-2188, 2018 WL

4571677, at *3 (S.D.N.Y. Sept. 24, 2018). A court must “hold

unlawful and set aside agency action, findings, and conclusions

found to be . . . arbitrary, capricious, an abuse of discretion,

or otherwise not in accordance with law . . . .” 5 U.S.C. §

706(2)(A). “The court is not empowered to substitute its

judgment for that of the agency.” Citizens to Preserve Overton

Park, Inc. v. Volpe, 401 U.S. 402, 416 (1977). Instead, the

court’s task is “to determine whether the agency has considered

the pertinent evidence, examined the relevant factors, and

articulated a satisfactory explanation for its action . . . .”

J. Andrew Lange, Inc. v. F.A.A., 208 F.3d 389, 391 (2d Cir.



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2000); see Residents for Sane Trash Sols., Inc. v. U.S. Army

Corps of Eng’rs, 31 F. Supp. 3d 571, 587-88 (S.D.N.Y. 2014).

     There is no likelihood that the FRBNY’s decision to

terminate BSJI’s account was arbitrary or capricious or contrary

to law. See Adler, 2018 WL 4571677, at *3. The FRBNY undertook a

comprehensive investigation to review high risk transaction

activity in BSJI’s account. See Brennan Decl., Ex. 14, ECF No.

52-14. In its 2023 Risk Analysis Memorandum, Compliance found

that BSJI failed to address open and partially open observations

made by K2 in previous reports, and that these reports revealed

“data quality issues,” “model governance” deficits, and

“oversight deficiencies.” Ex. 14, ECF No. 52-14; see also id. at

8-12 (reviewing K2’s findings).

     The FRBNY informed the Board of its intent to close BSJI’s

account, Brennan Decl., Ex. 20, ECF No. 52-20, and then

communicated that decision and its grounds to BSJI on April 24,

2023, id., Ex. 21, ECF No. 52-21. In response, BSJI repeatedly

claimed that it did not pose undue risk. Vazquez Decl., ¶¶ 56-

59, ECF No. 10; see id. Exs. 19-22, ECF Nos. 10-19-22. The FRBNY

extended BSJI’s closure date. See Benvenuto Decl., ¶ 11, ECF No.

51. But FRBNY ultimately concluded that BSJI failed to address

adequately its high-risk, related-party transactional activity,

see Brennan Decl., Ex. 9, ECF No. 52-9, and the FRBNY by letter



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dated June 30, 2023 advised BSJI that it was proceeding with its

decision to close BSJI’s account on July 31, 2023. Id.

     BSJI now disagrees with the conclusions reached by the

FRBNY, but the conclusions were plainly reached after a thorough

review of the evidence and pertinent factors and resulted in a

decision that explained the FRBNY’s rationale. It cannot be

found that BSJI is likely to succeed in showing, or has raised

serious questions, that the FRBNY’s decision was arbitrary,

capricious, or otherwise contrary to law. While BSJI disagrees

with the FRBNY’s careful determination, it is not for the Court

to substitute its judgment for the reasoned decision of the

FRBNY. See J. Andrew Lange, Inc., 208 F.3d at 391.

                                  iii.

     BSJI’s due process claim depends on its erroneous

interpretations of 12 U.S.C. § 342 and 12 U.S.C. § 248a(c)(2).

Because BSJI is not entitled to a Master Account, BSJI cannot

show that the Bank was deprived of liberty or property without

due process of law. Clubside, Inc. v. Valentin, 468 F.3d 144,

154 (2d Cir. 2006); see also Town of Castle Rock, Colo. v.

Gonzales, 545 U.S. 748, 756 (2005)( for due process purposes, “a

benefit is not a protected entitlement if government officials

may grant or deny it in their discretion.”). Because the FRA

provides the FRBNY with the discretion to open and terminate

Master Accounts, BSJI does not have a protectable property

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interest in a Master Account. Moreover, given the extensive

consideration to BSJI’s arguments by the FRBNY, it cannot be

found that BSJI was denied a full and fair opportunity to be

heard on the decision to close its Master Account. Accordingly,

BSJI’s due process claims also fail.

                                    iv.

     Finally, the FRBNY’s decision to close BSJI’s Master

Account did not violate any contract. BSJI argues that the

decision to terminate its Master Account violated the covenant

of “good faith and fair dealing” implicit in its contract with

the FRBNY. See ECF No. 7, at 27-28. However, BSJI is unlikely to

prevail on this claim. The FRBNY had the right under the MAA and

the Supplemental Terms to terminate BSJI’s Master Account. See

Brennan Decl., Exs. 2, 4, ECF Nos. 52-2, 52-4. BSJI is a high-

risk institution, owned by a single person, that entered into

questionable transactions which raised concerns over money

laundering. Id., Ex. 14, ECF No. 52-14. While BSJI hired an

accounting consultant who found adequate controls, see ECF No.

73, at 3, the consultant’s report was insufficient to convince

the FRBNY to continue BSJI’s Master Account. Given the extended

back and forth between the parties, BSJI is unlikely to succeed

on its claim that the FRBNY acted in bad faith, and BSJI has

failed to present any evidence that the FRBNY acted other than

in good faith.

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                                   C.

     Given the profound risks associated with money laundering,

the public interest weighs against granting a preliminary

injunction. See, e.g., United States v. Martin, 320 F.3d 1223,

1227 (11th Cir. 2003) (“The harm from . . . a [money-laundering]

transaction does not generally fall upon an individual, but

falls upon society in general.”); FBME Bank Ltd. v. Mnuchin, 249

F. Supp. 3d 215, 230 (D.D.C. 2017) (noting the “public’s

interest in protecting the U.S. financial system from illicit

activity such as money laundering”).

     IBEs, like BSJI, have a local territorial regulator, the

Office of the Commissioner of Financial Institutions (“OCIF”).

Aponte Decl., Ex. 1, ECF No. 13-2, ¶ 2. But the United States

Department of the Treasury (“Treasury”) recently noted that the

OCIF has “severe resource constraints” and has “relatively few

examiners and supervisory staff” to effectuate its supervisory

program. Brennan Decl., Ex. 6, ECF No. 52-6 at 74. Notably, in

2022, the Treasury warned that IBEs and IFEs are “attractive

money laundering vehicles, potentially allowing nefarious actors

to misuse them to facilitate illicit financial activity.” Id.

The Treasury then stated that IBEs and IFEs are “of particular

concern because of their offshore banking business model.” Id.

For the same reasons, IBEs and IFEs pose heightened risk to the



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FRBNY, because their access to accounts could cause the FRBNY to

facilitate illicit activity.

     BSJI’s specific and numerous risk factors, see Brennan

Decl., Ex. 9, ECF No. 52-9 at 2 (noting concerns); id. at Ex.

14, ECF No. 52-14 (Compliance Risk Analysis of BSJI), justify

the FRBNY’s decision to close BSJI’s Master Account. FRBNY’s

Compliance Office found a “significant number of red flags

identified in BSJI’s transaction activity,” and a “high

concentration of suspicious transactions with parties related to

BSJI,” see id. at 4, including, for example, numerous

transactions involving BSJI’s owner. See ECF No. 52-14 at 17.

     Accepting deposits from and providing financial services to

a financial institution with BSJI’s record of noncompliance

exposes the FRBNY and the financial system to risk. This harm is

not just to the FRBNY, but to the fiscal system, because

“federal reserve banks are not operated for the profit of

shareholders; rather, they were created and are operated in

furtherance of the national fiscal policy.” See Starr Int'l Co.,

Inc. v. Fed. Rsrv. Bank of N.Y., 742 F.3d 37, 40 (2d Cir. 2014).

Moreover, maintaining a Master Account with an entity that the

FRBNY concluded posed an undue risk of “activities such as money

laundering, economic or trade sanctions violations, or other

illicit activity,” see Brennan Decl., Ex. 20, ECF No 52-20 at 3,

implicates the Federal Reserve in BSJI’s questionable

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transactions. Accordingly, granting BSJI’s motion for emergency

relief would place the public in harm’s way.

                                     III.

     The Board argues that BSJI lacks standing to obtain a

preliminary injunction against the Board because the Board

cannot reopen BSJI’s account. “[W]hen a plaintiff’s standing is

brought into issue the relevant inquiry is whether, assuming

justiciability of the claim, the plaintiff has shown an injury

to himself that is likely to be redressed by a favorable

decision. Absent such a showing, exercise of its power by a

federal court would be gratuitous and thus inconsistent with the

Art. III limitation.” Simon v. E. Ky. Welfare Rts. Org., 426

U.S. 26, 38 (1976).

     The Board exercises supervision over reserve banks, but

does not have the statutory authority to receive deposits, open

or close Master Accounts, or perform other banking services. See

12 U.S.C. §§ 248(j), 342. Operating Circular No. 1 makes clear

that a reserve bank can terminate an MAA at any time, and that

the Board is not a party to the MAA. See Brennan Decl., Ex. 3,

ECF No. 52-3. Indeed, the Circular states that “[a]ll master

accounts are subject to Reserve Bank approval,” and notes that

the Reserve Bank “may close your master account . . . at any

time.” Id. at 11. Because the Board lacks enforcement power to

open or terminate a Master Account, BSJI does not have standing

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